
PER CURIAM.
We have for review the decision in King v. State, 729 So.2d 542 (Fla. 1st DCA 1999),in which the First District certified the same question which it certified in Woods v. State, 740 So.2d 20 (Fla. 1st DCA 1999):
DOES THE PRISON RELEASEE REOFFENDER PUNISHMENT ACT, CODIFIED AS SECTION 775.082(8), FLORIDA STATUTES (1997), VIOLATE THE SEPARATION OF POWERS CLAUSE OF THE FLORIDA CONSTITUTION?
We have jurisdiction. See art. V, § 3(b)(4), Fla. Const.
We recently approved the First District’s opinion in Woods, holding that the Prisoner Releasee Reoffender Act, as properly interpreted by the First District, does not violate separation of powers, and rejecting other constitutional challenges to the Act. See State v. Cotton, SC94996 &amp; SC95281, — So.2d -, 2000 WL 766521 (Fla. June 20, 2000). Accordingly, for the reasons expressed in Cotton, we answer the certified question in the negative and approve the First District’s decision in this case.
It is so ordered.
HARDING, C.J., and SHAW, WELLS, ANSTEAD, PARIENTE and LEWIS, JJ., concur.
QUINCE, J., dissents with an opinion.
